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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


GAVIN McINNES,
                                                                    CIVIL ACTION NO.
        Plaintiff,                                                 2:19-cv-98-MHT-GMB

                      - vs.-

SOUTHERN POVERTY LAW CENTER,
INC.,

        Defendant.


   PLAINTIFF’S SECOND UNOPPOSED MOTION FOR EXTENSION OF TIME TO
             RESPOND TO DEFENDANT’S MOTION TO DISMISS
   AND SECOND SUGGESTED FILING SCHEDULE AGREED-UPON BY COUNSEL
                    FOR PLAINTIFF AND DEFENDANT

        COMES NOW the Plaintiff in the above-styled cause and moves this Honorable Court

for a second extension of time to respond to Defendant’s Motion to Dismiss (Doc. 17) and

suggests a filing schedule agreed upon by counsel for Plaintiff and Defendant for Defendant’s

reply to Plaintiff’s response. As grounds therefore, Plaintiff states as follows:

        1.       Defendant sought (Doc. 5) and was granted (Doc. 8) an extension to file a

responsive pleading to Plaintiff’s Complaint (Doc. 1). Plaintiff did not oppose Defendant’s

request for an extension (Doc. 7).

        2.       Defendant filed a Motion to Dismiss (Doc. 17) on April 6, 2019, with a service

date of April 8, 2019. The Court set a due date of April 26, 2019 for Plaintiff’s response (Doc.

19).

        3.       Plaintiff filed an Unopposed Motion for Extension of Time to Respond (Doc. 25)

that was generously granted (Doc. 26), setting a filing schedule for the Plaintiff’s response due on

May 8 and the Defendant’s reply due on May 31.
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        4.       Counsel for Defendant agreed to a second extension of time to respond to allow

Plaintiff to respond to Defendant’s Motion to Dismiss no later than May 13, conditioned on

Plaintiff’s agreement to consent to request that the Court extend the deadline for a reply to

Plaintiff’s response to June 5. Plaintiff agreed to this extension.

        5.       Therefore, Plaintiff and Defendant are in agreement that, should this Court

generously grant the second extensions of time as agreed-upon by Plaintiff and Defendant, the

schedule for filing would be as follows: Plaintiff’s response due no later than May 13, 2019, and

Defendant’s reply due no later than June 5, 2019.

        WHEREFORE, Plaintiff moves this Honorable Court to grant Plaintiff’s present second

motion to extend the date to respond to Defendant’s motion to dismiss and enter any such orders

the Court deems necessary to effectuate the agreed-upon filing schedule.



        Respectfully submitted on this the 7th day of May, 2019.




                                                           /s/ G. Baron Coleman
                                                           G. Baron Coleman
                                                           Alabama Bar No. ASB 9562-O67C

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                             CERTIFICATE OF SERVICE

        I hereby certify that on May 7, 2019, I will electronically file the foregoing with
the Clerk of Court using the CM/ECF, which will then send a notification of such filing
to the following:

Robert D. Segall
Shannon Holliday
Benjamin Maxymuk
Copeland, Franco, Screws & Gill, P.A.
P.O. Box 347
Montgomery, AL 36101-0347


                                                      /s/ G. Baron Coleman
                                                      OF COUNSEL
